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JS 45 (01/2009)                                FILED UNDER SEAL PURSUANT TO THE E-GOVERNMENT ACT OF 2002

                  REDACTED
Criminal Case Cover Sheet                                                                                               U.S. District Court
Place of Offense:                         Under SeahYes         NoX_              Judge Assigned:            "HHME
City                              _Superseding Indictment                         Criminal Number: 1:12cr LJA Q
County/Parish Fairfax              Same Defendant                   X             New Defendant
                                   Magistrate Judge Case Number 1:12MJ                               Arraignment Date:
                                   Search Warrant Case Number
                                   R 20/R 40 from District of
                                   Related Case Name and No:
Defendant Information:

Juvenile—Yes         No X       FBI#

Defendant Name: JOSHUA BRADY                         Alias Name(s)
Address:     Petersburg, VA 23803
Employment:
 Birth date 1986         SS# 0597             Sex MDefRace White           .Nationality _                        Place of Birth

 Height             .Weight            Hair             Eyes                Scars/Tattoos

    Interpreter^ No             Yes List language and/or dialect:                          Automobile Description
 Location Status:

 Arrest Date
 X_Already in Federal Custody as of            August 17,2012           in ED VA, Richmond
       Already inState Custody           On Pretrial Release                    Not in Custody
 X Arrest Warrant Requested              Fugitive                               Summons Requested
       Arrest Warrant Pending             Detention Sought                      Bond
 Defense Counsel Information:
 Name:                                              Court Appointed                    Counsel conflicted out:

 Address:                                           Retained
 Telephone:                                         Public Defender                     Federal Public Defender's Office conflicted out:

 U.S. Attorney Information:
 AUSA       Adam Schwartz           .Telephone No:      (703) 299-3700                    Bar#

 Complainant Agency. Address & Phone Number or Person & Title:
 Jeffrey O'Donnell, Special Agent, Federal Bureau of Investigation
 U.S.C. Citations:

            Code/Section               Description of Offense Charged             Count(s)             Capita l/Felonv/Misd/Petty


 Set 1      18 U.S.C. §912             False Impersonation                        J                    Felony
 Set 2      18 U.S.C. §2113(a)         Attempted Bank Robbery                     2-4                  Felony
 Set 3
                                                       (May be continued on reverse)


 Date:         ?'Itch       2-       .Signature of AUSA
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